                     Case 3:17-cv-06011-WHA Document 407 Filed 07/12/22 Page 1 of 7


            1    Theodore J. Boutrous, Jr. (SBN 132099)           Neal S. Manne (SBN 94101)
                  tboutrous@gibsondunn.com                           nmanne@susmangodfrey.com
            2    Andrea E. Neuman (SBN 149733)                    Johnny W. Carter (pro hac vice)
                   aneuman@gibsondunn.com                            jcarter@susmangodfrey.com
            3    William E. Thomson (SBN 187912)                  Erica Harris (pro hac vice)
                   wthomson@gibsondunn.com                           eharris@susmangodfrey.com
            4    Joshua D. Dick (SBN 268853)                      Steven Shepard (pro hac vice)
                   jdick@gibsondunn.com                              sshepard@susmangodfrey.com
            5    GIBSON, DUNN & CRUTCHER LLP                      SUSMAN GODFREY LLP
                 333 South Grand Avenue                           1000 Louisiana, Suite 5100
            6    Los Angeles, CA 90071                            Houston, TX 77002
                 Telephone: 213.229.7000                          Telephone: 713.651.9366
            7    Facsimile: 213.229.7520                          Facsimile: 713.654.6666
            8    Herbert J. Stern (pro hac vice)
                   hstern@sgklaw.com
            9    Joel M. Silverstein (pro hac vice)
                   jsilverstein@sgklaw.com
           10    STERN & KILCULLEN, LLC
                 325 Columbia Turnpike, Suite 110
           11    Florham Park, NJ 07932-0992
                 Telephone: 973.535.1900
           12    Facsimile: 973.535.9664
           13    Attorneys for Defendant Chevron Corporation
           14
                                              UNITED STATES DISTRICT COURT
           15                               NORTHERN DISTRICT OF CALIFORNIA
                                                 SAN FRANCISCO DIVISION
           16
                 CITY OF OAKLAND, a Municipal                     First Filed Case: No. 3:17-cv-6011-WHA
           17    Corporation, and THE PEOPLE OF THE               Related Case:     No. 3:17-cv-6012-WHA
                 STATE OF CALIFORNIA, acting by and
           18    through Oakland City Attorney BARBARA J.
                 PARKER,
           19
                                                                  NOTICE OF NINTH CIRCUIT
                              Plaintiffs,                         DEVELOPMENTS
           20
                       v.                                         THE HONORABLE WILLIAM H. ALSUP
           21
                 BP P.L.C., a public limited company of
           22    England and Wales, CHEVRON
                 CORPORATION, a Delaware corporation,
           23    CONOCOPHILLIPS COMPANY, a Delaware
                 corporation, EXXON MOBIL
           24    CORPORATION, a New Jersey corporation,
                 ROYAL DUTCH SHELL PLC, a public
           25    limited company of England and Wales, and
                 DOES 1 through 10,
           26
                              Defendants.
           27
                 CITY AND COUNTY OF SAN
           28    FRANCISCO, a Municipal Corporation, and
                 THE PEOPLE OF THE STATE OF
Gibson, Dunn &
Crutcher LLP
                                              NOTICE OF NINTH CIRCUIT DEVELOPMENTS
                                            CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
                     Case 3:17-cv-06011-WHA Document 407 Filed 07/12/22 Page 2 of 7


            1    CALIFORNIA, acting by and through the San
                 Francisco City Attorney DENNIS J.
            2    HERRERA,
            3                 Plaintiffs,
            4          v.
            5    BP P.L.C., a public limited company of
                 England and Wales, CHEVRON
            6    CORPORATION, a Delaware corporation,
                 CONOCOPHILLIPS COMPANY, a Delaware
            7    corporation, EXXON MOBIL
                 CORPORATION, a New Jersey corporation,
            8    ROYAL DUTCH SHELL PLC, a public
                 limited company of England and Wales, and
            9    DOES 1 through 10,
           10                 Defendants.
           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &
Crutcher LLP
                                              NOTICE OF NINTH CIRCUIT DEVELOPMENTS
                                            CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
                       Case 3:17-cv-06011-WHA Document 407 Filed 07/12/22 Page 3 of 7


            1            Defendants submit this notice to inform the Court of two recent developments in the Ninth
            2    Circuit that may bear upon these cases.1 First, the Ninth Circuit stayed the mandate in County of San
            3    Mateo v. Chevron Corp. to permit defendants to file a petition for a writ of certiorari in the U.S.
            4    Supreme Court. See Nos. 18-15499+, Dkt. 329 (June 30, 2022). As a result, the six cases before Judge
            5    Chhabria, where the court found, contrary to this Court, that climate change-related claims are not
            6    removable, have not yet been remanded to state court and remain in federal court pending review from
            7    the Supreme Court. Second, the Ninth Circuit issued an opinion in City & County of Honolulu v.
            8    Sunoco LP affirming the district court’s order remanding the action to state court. See Nos. 21-15313+,
            9    Dkt. 133-1 (July 7, 2022). Defendants in Honolulu are evaluating whether to seek rehearing in the
           10    Ninth Circuit and/or file a petition for a writ of certiorari in the U.S. Supreme Court. In addition, on
           11    June 8, 2022, defendants in Board of County Commissioners of Boulder County v. Suncor Energy
           12    (U.S.A) Inc., No. 19-cv-1330 (10th Cir.), a similar climate change-related case, filed a petition for a
           13    writ of certiorari in the U.S. Supreme Court, seeking review of the Tenth Circuit’s affirmance of the
           14    district court’s remand order. That petition will likely be decided by the end of this year.
           15            As the Court is aware, Defendants are preparing a supplemental brief in opposition to Plaintiffs’
           16    renewed motion to remand. See Dkt. 401. Currently, that brief is due July 21, 2022, and Plaintiffs’
           17    reply brief is due August 11, 2022. A hearing on the motion is scheduled for September 22, 2022.
           18    Given these recent developments, however, Defendants respectfully submit that it may advance the
           19    interests of judicial efficiency and conservation of resources to stay proceedings in these cases and
           20    await further guidance from the Supreme Court, particularly given that this Court previously concluded
           21    that Plaintiffs’ claims are removable because they are governed by federal common law, which is an
           22    issue presented in the certiorari petitions.2 Defendants are, of course, willing and able to proceed on
           23    the current schedule if that is the Court’s preference.
           24

           25

           26     1
                      In submitting this update, Defendants BP P.L.C., ConocoPhillips, Exxon Mobil Corporation, and
                      Shell plc (f/k/a Royal Dutch Shell plc), do not waive any argument or defense regarding the
           27         Court’s lack of personal jurisdiction over them, nor do they seek to vacate or alter the Court’s
                      previous personal jurisdiction order under Rule 12(b)(2).
           28
                  2
                      Plaintiffs have indicated that they do not consent to any extensions of the current schedule.
Gibson, Dunn &                                                       1
Crutcher LLP
                                               NOTICE OF NINTH CIRCUIT DEVELOPMENTS
                                             CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
                      Case 3:17-cv-06011-WHA Document 407 Filed 07/12/22 Page 4 of 7


            1    Dated: July 12, 2022                           Respectfully submitted,
            2                                               By: /s/ Theodore J. Boutrous, Jr.
            3                                               Theodore J. Boutrous, Jr.
                                                            William E. Thomson
            4                                               GIBSON, DUNN & CRUTCHER LLP
                                                            333 South Grand Avenue
            5                                               Los Angeles, CA 90071-3197
                                                            Telephone: (213) 229-7000
            6                                               Email: tboutrous@gibsondunn.com
                                                            Email: wthomson@gibsondunn.com
            7
                                                            Andrea E. Neuman
            8
                                                            GIBSON, DUNN & CRUTCHER LLP
            9                                               200 Park Avenue
                                                            New York, NY 10166
           10                                               Telephone: (212) 351-4000
                                                            Facsimile: (212) 351-4035
           11                                               Email: aneuman@gibsondunn.com
           12                                               Joshua D. Dick
                                                            GIBSON, DUNN & CRUTCHER LLP
           13                                               555 Mission Street, Suite 3000
                                                            San Francisco, CA 94105-0921
           14                                               Telephone: 415.393.8331
                                                            Facsimile: 415.374.8451
           15                                               Email: jdick@gibsondunn.com
           16
                                                            Neal S. Manne (pro hac vice)
           17                                               Johnny W. Carter (pro hac vice)
                                                            Erica Harris (pro hac vice)
           18                                               Steven Shepard (pro hac vice)
                                                            SUSMAN GODFREY LLP
           19                                               1000 Louisiana, Suite 5100
                                                            Houston, TX 77002
           20                                               Telephone: (713) 651-9366
                                                            Facsimile: (713) 654-6666
           21
                                                            Email: nmanne@susmangodfrey.com
           22                                               Email: jcarter@susmangodfrey.com
                                                            Email: eharris@susmangodfrey.com
           23                                               Email: shepard@susmangodfrey.com

           24                                               Herbert J. Stern (pro hac vice)
                                                            Joel M. Silverstein (pro hac vice) STERN &
           25                                               KILCULLEN, LLC
                                                            325 Columbia Turnpike, Suite 110
           26                                               Florham Park, NJ 07932-0992
           27                                               Telephone: (973) 535-1900
                                                            Facsimile: (973) 535-9664
           28                                               Email: hstern@sgklaw.com
                                                            Email: jsilverstein@sgklaw.com
Gibson, Dunn &                                              2
Crutcher LLP
                                          NOTICE OF NINTH CIRCUIT DEVELOPMENTS
                                        CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
                 Case 3:17-cv-06011-WHA Document 407 Filed 07/12/22 Page 5 of 7


            1
                                                     Attorneys for Defendant CHEVRON
            2                                        CORPORATION

            3
                                                     By: **/s/ Jonathan W. Hughes
            4                                        Jonathan W. Hughes
                                                     ARNOLD & PORTER KAYE SCHOLER LLP
            5                                        Three Embarcadero Center, 10th Floor
                                                     San Francisco, California 94111-4024
            6
                                                     Telephone: (415) 471-3100
            7                                        Facsimile: (415) 471-3400
                                                     Email: jonathan.hughes@apks.com
            8
                                                     Matthew T. Heartney
            9                                        John D. Lombardo
                                                     ARNOLD & PORTER KAYE SCHOLER LLP
           10                                        777 South Figueroa Street, 44th Floor
                                                     Los Angeles, California 90017-5844
           11
                                                     Telephone: (213) 243-4000
           12                                        Facsimile: (213) 243-4199
                                                     E-mail: matthew.heartney@apks.com
           13                                        E-mail: john.lombardo@apks.com

           14                                        Nancy Milburn
                                                     ARNOLD & PORTER KAYE SCHOLER LLP
           15                                        250 West 55th Street
                                                     New York, NY 10019-9710
           16                                        Telephone: (212) 836-8383
           17                                        Facsimile: (212) 715-1399
                                                     Email: nancy.milburn@apks.com
           18
                                                     Attorneys for Defendant BP P.L.C.
           19

           20                                        By: **/s/ Raymond A. Cardozo
                                                     Raymond A. Cardozo (SBN 173263)
           21                                        T. Connor O’Carroll (SBN 312920)
                                                     REED SMITH LLP
           22                                        101 Second Street, Suite 1800
                                                     San Francisco, CA 94105-3659
           23                                        Telephone: 415 543 8700
                                                     Facsimile: 415 391 8269
           24
                                                     rcardozo@reedsmith.com
           25                                        cocarroll@reedsmith.com

           26                                        Jameson R. Jones (pro hac vice)
                                                     Daniel R. Brody (pro hac vice)
           27                                        BARTLIT BECK LLP
                                                     1801 Wewatta Street, Suite 1200
           28                                        Denver, CO 80202

Gibson, Dunn &                                       3
Crutcher LLP
                                   NOTICE OF NINTH CIRCUIT DEVELOPMENTS
                                 CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
                 Case 3:17-cv-06011-WHA Document 407 Filed 07/12/22 Page 6 of 7


            1                                        Telephone: (303) 592-3100
                                                     Facsimile: (303) 592-3140
            2                                        Email: jameson.jones@bartlitbeck.com
                                                     Email: dan.brody@bartlitbeck.com
            3

            4                                        Attorneys for Defendant CONOCOPHILLIPS

            5
                                                     By: **/s/ Dawn Sestito
            6                                        M. Randall Oppenheimer
                                                     Dawn Sestito
            7                                        O’MELVENY & MYERS LLP
                                                     400 South Hope Street
            8                                        Los Angeles, California 90071-2899
            9                                        Telephone: (213) 430-6000
                                                     Facsimile: (213) 430-6407
           10                                        Email: roppenheimer@omm.com
                                                     Email: dsestito@omm.com
           11
                                                     Theodore V. Wells, Jr. (pro hac vice)
           12                                        Daniel J. Toal (pro hac vice)
                                                     PAUL, WEISS, RIFKIND, WHARTON &
           13                                        GARRISON LLP
                                                     1285 Avenue of the Americas
           14
                                                     New York, New York 10019-6064
           15                                        Telephone: (212) 373-3000
                                                     Facsimile: (212) 757-3990
           16                                        Email: twells@paulweiss.com
                                                     Email: dtoal@paulweiss.com
           17
                                                     Attorneys for Defendant EXXON MOBIL
           18                                        CORPORATION
           19

           20                                        By:**/s/ Gary T. Lafayette
                                                     Gary T. Lafayette (SBN 88666)
           21                                        LAFAYETTE KUMAGAI LLP
                                                     1300 Clay Street, Suite 810
           22                                        Oakland, California 94612
                                                     Telephone: (415) 357-3600
           23                                        Facsimile: (415) 357-4605
                                                     Email: glafayette@lkclaw.com
           24
                                                     David C. Frederick (pro hac vice)
           25
                                                     Daniel S. Severson (pro hac vice)
           26                                        KELLOGG, HANSEN, TODD, FIGEL &
                                                     FREDERICK, P.L.L.C.
           27                                        1615 M Street, N.W., Suite 400
                                                     Washington, D.C. 20036
           28                                        Telephone: (202) 326-7900

Gibson, Dunn &                                       4
Crutcher LLP
                                   NOTICE OF NINTH CIRCUIT DEVELOPMENTS
                                 CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
                 Case 3:17-cv-06011-WHA Document 407 Filed 07/12/22 Page 7 of 7


            1                                        Facsimile: (202) 326-7999
                                                     Email: dfrederick@kellogghansen.com
            2                                        Email: dseverson@kellogghansen.com
            3
                                                     Attorneys for Defendant SHELL PLC (F/K/A
            4                                        ROYAL DUTCH SHELL PLC)

            5                                        ** Pursuant to Civ. L.R. 5-1(i)(3), the
                                                     electronic signatory has obtained approval
            6                                        from this signatory.
            7

            8

            9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &                                       5
Crutcher LLP
                                   NOTICE OF NINTH CIRCUIT DEVELOPMENTS
                                 CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
